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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                            CASE NO. 1:88-cr-01007-MP-AK

WILLIE BUD REED, JR,

       Defendant.

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                                           ORDER

       This matter is before the Court on Motion for Reconsideration by Defendant, regarding

the Order on Motion for Reconsideration, Doc. 1306. Mr. Reed apparently disagrees with this

Court denying his Motion for Reconsideration, and asks this Court to re-consider its decision not

to re-consider. Defendant’s arguments have not changed in the intervening two weeks, and

neither have the facts, the analysis, or the conclusion the law compels. Motion DENIED.

       DONE AND ORDERED this            8th day of December, 2009


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
